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                Exhibit F
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Masako Mori, Minister of Justice, expressed his belief in the Legal Committee of
the 201st Diet session
                                                                                            March 6, 2nd year (Fri)




 First, I'm Masako Mori, Minister of Justice. We would like to express our sincere gratitude to Chairman
Midori Matsushima, the directors, and the members of the committee for their continued understanding
and efforts regarding the administration of legal administration.
 At present, the spread of new coronavirus infection is spreading, and a great sense of anxiety is
spreading among the people. The government is working together to protect the lives and health of the
people, and the Ministry of Justice will also take measures to prevent the spread of infection, including
thorough measures against the waterfront.
 It will be March 11th. It has been nine years since the Great East Japan Earthquake and the nuclear
accident. Once again, I would like to express my sincere condolences to the victims of the disaster. I will
share my awareness that "all ministers are ministers of reconstruction", and I will do my utmost to work
closely with the hearts of disaster victims in the recovery and reconstruction of the disaster-stricken
areas and to support their lives.
 Through legal administration, I will seriously work toward the realization of justice, that is, a just society
in which justice is maintained. Based on this determination, the slogan of the 14th United Nations
Conference on Criminal Criminal Justice (Kyoto Congress) held in Kyoto this year was changed to the
slogan
"Peace and Justice for All (Peace and Justice for All). )”
. This is also the 16th goal of the Sustainable Development Goals (SDGs) adopted by the United Nations.
We believe that it is the responsibility of legal administration to achieve a society in which all people can
enjoy peace and justice by sticking to the rule of law.
 In addition, on February 26, as a flame of reconstruction in the disaster area, the Torch Relay will start
from Fukushima Prefecture and the Tokyo Olympic and Paralympic Games will be held. The Ministry of
Justice will do its utmost to realize a safe and secure society by aiming for the success of the Games,
including measures against various crimes, appropriate immigration control, and promotion of human rights
measures, and looking after the Games.


  About approach to problem of legal administration

1 Realization of society without abuse and discrimination


 (strict coping with
 sex crimes ) Sex crimes seriously violate the personality and dignity of victims, and give great pain to
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their minds and bodies for many years. It is a vicious and serious crime that continues, and strict
measures are required.
 The accusations of innocence of sex crimes led to flower demonstrations all over the country, and
sexually-affected parties who could not speak until then are raising their voices.
 The supplementary provisions of the “Law to Partially Revise the Criminal Code” regarding sex crimes
established in 2017, will consider the comprehensive policy regarding sex crimes within three years after
the enforcement. The Ministry of Justice has been working to understand the actual situation of sex
crimes, etc. to contribute to this examination, and is currently working on the compilation. In the future,
based on the results, we will continue to listen to the voices of sexually-affected parties and take
appropriate actions.


 (Child abuse prevention measures)
 In order to eradicate child abuse, it is important to protect children's lives more than anything else, and
to comprehensively work on prevention, early detection, and protection of children who have been
damaged. Based on "Dramatic strengthening of child abuse prevention measures" compiled by the
government last year and "Ministry of Justice Child Abuse Prevention Measures Enhancement Plan"
formulated in February this year, work closely with related organizations such as child guidance centers.
At the same time, we will steadily promote efforts such as support utilizing the specialized knowledge of
psychology at the Legal Juvenile Support Center.


 (Efforts to address human rights issues caused by the earthquake)
 Human rights issues such as discriminatory treatment and bullying of children still exist based on rumors
associated with the Great East Japan Earthquake and the nuclear power plant accident. Discrimination
and slander against the disaster-stricken areas and the victims must not be refused, and we will respond
resolutely through consultation and investigation and relief activities by human rights defenders.


 (Response to various human rights issues)
 Human rights issues concerning women, children and the elderly, discrimination based on disability,
human rights violations against foreigners including hate speech, discrimination issues such as Buraku
discrimination, sexual orientation, etc. In order to resolve various human rights problems such as prejudice
and discrimination based on gender identity, defamation and privacy infringement that abused the Internet,
we will carefully and persistently work on investigation and relief activities etc. for human rights violations
while making full use of individual laws and regulations ..
 As "barrier-free for the mind", we promote human rights enlightenment activities for everyone to
cherish each other's human rights and to support each other in a symbiotic society. Based on the
circumstances in which patients with leprosy, former patients and their families were placed. We will firmly
engage in human rights awareness activities.
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 (Cancellation of unregistered state)
 For parents who have not been notified of their birth by their parents and are unregistered, we will take
measures such as thoroughly grasping the actual situation and giving careful guidance on the procedure,
while also considering further measures, We will work to resolve it.


2 Reinforcement of Civil Law System


 (Civil Law System Responding to Changes in Society)
 We will proceed with the necessary revision of the basic civil law to respond to changes in society.
 Regarding the problem of nonpayment of child support, which is one of the causes of children's poverty,
we will work proactively to eliminate it in cooperation with related ministries and agencies, and will firmly
protect the future of children. In addition, we will continue to steadily examine the current family law
system, including issues related to face-to-face exchanges and problems related to the upbringing of
children after their parents divorce.
 In addition, we will make every effort to prepare for smooth enforcement and to inform the public about
the reduction of the adult age that is coming into force and the revision of civil law in the field of credit
law.


 (Responding to the problem of land with unknown owner)
 In recent years, the problem of land with unknown owner has become a problem in various situations, and
we recognize that countermeasures are important issues that should be addressed by the government as
a whole. To solve this problem, we will steadily implement various measures such as efforts to promote
inheritance registration and work to eliminate land whose title section owner is unknown.
 Furthermore, in order to fundamentally solve the problem of land with unknown owner, the Legislative
Council is currently in the process of deliberation on the revision of the Civil Code and the Real Estate
Registration Law. We will carry out specific examinations for the revision.


 (Recovery/Reconstruction Support from Earthquakes/Disasters)
 We will do our utmost to support the recovery and reconstruction of a large number of large-scale
disasters. Appropriate and prompt response to registration contract cases, loss of registration due to the
expropriation of the registrar of the building that collapsed, maintenance of a map equipped with the
registration office, free legal consultation by "Ho terrace", etc. We will work while grasping it firmly.


 (Enhancement of Litigation Functions) In
 order to protect the rights and interests of the people, it is important for the country to enhance and
strengthen various litigation functions. In addition to properly and effectively exercising command authority
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over litigation related to national interests, we will strengthen the preventive judicial function to prevent
the occurrence of legal disputes both inside and outside Japan. In addition, we will work closely with
related ministries and agencies to strengthen our response to international litigation.


3 Realization of a judiciary that is close and reliable to the people


 (reform of the legal profession training system)
 Regarding the legal profession training system, in addition to advancing efforts to train legal profession
that can meet the expectations of the people, based on the recent revision of the law. By working closely
with the Ministry of Education, Culture, Sports, Science and Technology, we will proactively promote
efforts for more and more talented people to become lawyers.


 (Legal education)
 In anticipation of the reduction of the adult age of civil law in 4th year of Reiwa, we will actively
cooperate with related organizations so that many people have the opportunity to come into contact with
legal education according to the needs of the target generation and field. I will work.


 (Enhancement of comprehensive legal support)
 At "Ho terrace", we have enhanced the efforts to cooperate with welfare institutions and other
organizations to solve comprehensive problems for the elderly and provide services in various languages
such as Japanese legal system. We are working to provide support to meet the diversifying needs of
society. In the future, we will continue to make efforts to disseminate and publicize our efforts on the "Ho
terrace", as well as to implement smooth operations and enhance the system to support the access of
the public to the judiciary.


 (Enhancing the judicial system)
In order to enhance the system of the court, which is the core of the judiciary, etc., we have submitted to
the Diet the "Law to revise a part of the Court Staff Quota Law" that includes the increase in the number
of judges. It was. We ask that you make a thorough discussion and approve it as soon as possible.


 (Active use of new technologies such as AI and ICT)
 Response to rapidly advancing technological innovations such as AI and ICT will streamline operations
and improve the quality of judiciary and legal administration, and improve the business environment. There
is also an urgent need to maintain and enhance Japan's international competitiveness. We will vigorously
promote the utilization of new technologies in the fields of justice and legal administration, including the
introduction of IT in civil trials, and the establishment of a foundation for their realization.
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4 Realization of "Japan's safest country in the world"


 (recidivism prevention measures)
Based on the "Recidivism Prevention Promotion Plan" and the "Recidivism Prevention Promotion Plan
Acceleration Plan" decided by the Crime Countermeasures Ministerial Meeting in December last year,
relevant ministries and agencies. We will further promote cooperation with and local governments.
Guidance necessary for recovery of persons who commit crimes or delinquency, such as securing working
and housing, support for the elderly and persons with disabilities, those who have drug dependence, those
who have completed criminal procedures such as full-term release persons.・Providing appropriate support,
as well as support for the construction of an implementation system for preventing recidivism performed
by local governments, and support for the activities of the private sector, such as guardians, rehabilitation
and protection facilities, and cooperative employers. We will continue to enhance and strengthen it.


 (Protection and support for victims of crime, etc.)
In order to protect the rights and interests of victims of crime, etc. in accordance with the principles of
the Basic Law for victims of crime, etc. We will properly operate the system and strive to provide detailed
support.


 (Strict coping with so-called "driving")
 Considering the actual situation of casualties caused by so-called "drifting", in order to deal with the
actual situation of the case, actions such as stopping in front of a moving vehicle for the purpose of
obstructing traffic are added to the subject of dangerous driving fatal injury I consulted with the Legal
Council about this and received the report. Based on this, we will submit a bill to the Diet to revise a part
of the law on the punishment of acts such as injuring people by driving a car.


 (Development of criminal law to ensure appearance on trial dates and execution of penalties)
 Recently, there have been a number of escape cases involving persons who have been sentenced to
imprisonment, for example, and accused on bail. In light of this, we have recently consulted with the Legal
Council on the establishment of criminal law to ensure the escape of these persons and ensure the
appearance on trial dates and the execution of penalties. In the future, based on the results of the
deliberation, we will proceed with the necessary legislation.


 (Securing security, measures against the threat of national life)
In order to realize a society in which all people can live safely and with peace of mind, we will cooperate
with related organizations and take all necessary measures to ensure security, including dealing with
organized crime. We will take measures.
 In addition, we will endeavor to understand trends related to terrorism in Japan and overseas, and will
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work to strengthen information gathering and analysis functions while working closely with related
organizations.
 Regarding Aum Shinrikyo, which is currently active mainly in "Aleph", "Yamada et al." and "Hikari no
Wa," we will continue to properly and rigorously implement observation and disposal based on the Group
Regulation Law. We will endeavor to alleviate and alleviate residents' anxiety and ensure public safety.


 (Response to foreign threats)
 For North Korea, we will continue to appropriately implement measures to strengthen human traffic
regulations, and also to provide relevant information on trends related to nuclear and missiles, external
trends including the abduction of Japanese people, and domestic situations. We will proceed with
collection and analysis. Also, regarding the Senkaku Islands, we will cooperate with the related
organizations and provide a complete response.


5 Further strengthen immigration control and residence control, realize a multicultural society


 (both strict measures at the waterfront and smooth immigration control)
Awaiting the Tokyo Olympic and Paralympic Games, threatening Japan's safety and security It is
necessary to take resolute immigration control for those who may be in danger. On top of that, in order to
achieve both a high level of smooth immigration control for the promotion of tourism and strict immigration
control, the world's highest level technologies such as face recognition gates are used to further enhance
immigration control. I will proceed.
 In addition, in order to prevent improper departure from the country, we will work in cooperation with
related organizations to further tighten the procedures for departure.
 At the same time, in order to prevent the spread of new coronavirus infectious diseases, we will further
strengthen cooperation with related organizations and make every possible effort to prevent waterfront.


 (Acceptance of foreign human resources and appropriate residency management)
 Regarding the specific skill system, we will strive to operate the system properly so that foreign human
resources can fully exercise their power in Japan, and also for technical intern trainees and international
students. We will continue to work on operational improvements to ensure proper acceptance.
 Regarding the realization of a symbiotic society with foreigners, based on the “Comprehensive
Countermeasures for Accepting and Coexisting with Foreign Human Resources” revised at the end of last
year, the relevant immigration offices will fulfill the overall coordination function. We will work in close
cooperation with and to expand support for local governments related to a unified consultation service, set
up a center for residence support, and create guidelines for using friendly Japanese.
 In addition, regarding the use of medical insurance by foreigners, we will work in cooperation with the
Ministry of Health, Labor and Welfare to ensure proper operation based on the revision of the Health
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Insurance Law.


 (Appropriate and prompt protection of refugees )
Regarding the refugee recognition system, we will continue to give consideration to applicants who really
need asylum, such as giving a stable residence permit in the early stage, and applying for abuse or misuse.
We will strive to ensure proper operation of the system and promptly protect refugees by taking strict
measures such as not permitting residence in accordance with the content of the case.


 (Responding to the issue of deportation refugees' accommodation/repatriation issues) Even if a
 deportation order has been issued, due consideration should be given to proper procedures for those
who are refusing deportation for various reasons. At the same time, we will endeavor to realize prompt
repatriation and steadily resolve long-term accommodation conditions.
 Of course, we will also thoroughly implement proper treatment in consideration of the human rights of
inmates.


6 Active promotion of "judicial diplomacy"


 (UN Crime Prevention Criminal Justice Conference)
 At Kyoto Congress, we will exercise our leadership in strongly promoting to the international community
the universal and basic values such as the rule of law and respect for basic human rights, and the
importance of international cooperation. In addition, at this opportunity, in order to gain a correct
understanding of Japan's criminal justice system, we will actively make international communications and
hold dialogues with the judicial ministers of each country. Prior to the Kyoto Congress, we will hold a
youth forum to raise the interest of the youth of the world, who will lead the future, toward the realization
of a safe and secure society and contribute to the development of global human resources.


 (Activation of international arbitration )
 To revitalize international arbitration in Japan, while fully utilizing the arbitration facility in Toranomon, in
cooperation with relevant ministries and agencies, specialized human resource development such as
arbitrators, We will continue to improve the infrastructure such as public relations and awareness raising in
Japan and overseas.
 In addition, in order to respond more accurately to the internationalization of legal affairs and to promote
the establishment of a foundation for further activation of international arbitration, the “Special Measures
Law Concerning Handling of Legal Affairs by Foreign Lawyers” Bill to revise the department" was
submitted to the 200th Diet session. We ask that you make a thorough discussion and approve it as soon
as possible.
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 (International cooperation on crime prevention, legal system development, etc.)
 Over the years, laws such as drafting basic laws, developing and operating a judicial system, conducting
international training, and developing human resources for judicial personnel have been developed for
developing countries. We have provided system maintenance support. These international cooperations are
initiatives that contribute to the realization of the SDGs adopted by the United Nations, and we will
actively promote them.


 (Promotion of legal foreign language translation maintenance business)
 Amid the rapid acceleration of internationalization of the economy and society, translating and
disseminating important Japanese laws and regulations is a very important effort to improve the national
infrastructure in response to internationalization. Based on the discussion at the "Public-Private Strategy
Council for Promoting International Dissemination of Japanese Law" launched in December last year, we
will work even more toward the international dissemination of Japanese law in cooperation with related
ministries and agencies. ..


7 Establishing an environment in which employees can work vigorously


 (promotion of work style reform and promotion of employment of persons with disabilities)
Based on the “At Houm Plan” by the Ministry of Justice, the slogan is the achievement of women's
professional life and the acquisition of 100% leave Starting with the promotion of male employees to take
childcare leave, employees with various circumstances will strive to maintain a work environment where
they can play an active role and promote work-life balance.
 Regarding the employment of persons with disabilities, we will steadily work on the basis of the basic
policy of the government established last year.


 (Promotion of seismic retrofitting and anti-aging measures for facilities)
In light of recent natural disasters, we are steadily implementing anti-seismic and anti-aging measures for
the Ministry of Justice facilities, including correctional facilities such as prisons and their staff dormitories,
and disasters. At the same time, we will promote the improvement of correctional facilities, which are
expected to function as evacuation shelters, in order to secure the functions necessary to accept
neighboring residents.


  Conclusion In the future, we will continue to work on various issues together with Deputy Minister
Kosuke Yoshie, Parliamentary Vice-Minister Miyahisa Miyazaki, and all the staff responsible for legal
administration. First of all, I would like to ask the directors and committee members for their
continued understanding.
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                              本文へ 文字の大きさ 標準 拡大         色変更・音声読み上げ・ルビ振り
                              相談窓口 サイトマップ ENGLISH

   会見・報道・お知らせ                   法務省の概要              試験・資格・採用      政策・審議会等     申請・手続      白書・統計
 トップページ > 会見・報道・お知らせ > 大臣会見等 > 所信表明（国会） > 第２０１回国会（常会）法務委員会における森まさこ法務大臣所信表明



   第２０１回国会（常会）法務委員会における森まさこ法務大臣所信表明
                                                                                            令和２年

    はじめに

   法務大臣の森まさこです。松島みどり委員長を始め，理事，委員の皆様方には，平素から法務行政の運営について格別の御理解と御尽力を賜り，厚く御礼申し上げます。
   現在，新型コロナウイルス感染症の感染が拡大し，国民の間に大きな不安感が広まっています。政府は，国民の生命と健康を守るために，一丸となって各種取組を進めており，法務省とし
  した水際対策を始めとして，感染拡大の防止に向けた措置を講じてまいります。
   もうすぐ３月１１日です。東日本大震災及び原発事故から９年になります。改めて，震災により犠牲となられた方々に謹んで哀悼の意を表します。私は，「閣僚全員が復興大臣である」との意
  し，被災者の心に寄り添って，被災地の復旧・復興や被災者の生活支援に全力で取り組む所存です。
   私は，法務行政を通じ，ジャスティス，すなわち正義が保たれる公正な社会の実現に向けて，真摯に取り組んでまいります。このような決意のもと，本年京都で開催される第１４回国連犯罪
  法会議（京都コングレス）の標語を
  「ピース・アンド・ジャスティス・フォー・オール（平和と公正をすべての人へ）」
  といたしました。これは，国連で採択された「持続可能な開発目標」（ＳＤＧｓ）の１６番目のゴールでもあります。法の支配を貫徹することによって， 全ての人が平和と公正を享受できる社会を
  ことは，法務行政に課された責務であると考えています。
   また，本月２６日，被災地復興の炎として，福島県から聖火リレーがスタートし，いよいよ東京オリンピック・パラリンピック競技大会が開催されます。法務省は，各種の犯罪対策，的確な出入
  権施策の推進など，大会の成功に向けて，そして，大会後をも見据えて，安心・安全な社会の実現に力を尽くしてまいります。

    法務行政の課題への取組について

  １ 虐待や差別のない社会の実現

   （性犯罪に対する厳正な対処）
   性犯罪は，被害者の人格や尊厳を著しく侵害し，その心身に長年にわたり多大な苦痛を与え続ける悪質・重大な犯罪であり，厳正な対処が必要です。
   性犯罪の無罪判決が相次いだことをきっかけに，フラワーデモが全国各地で行われるようになり，それまで声を上げられなかった性被害当事者の方々が声を上げています。
   平成２９年に成立した性犯罪に関する「刑法の一部を改正する法律」の附則では，施行後３年を目途として，性犯罪に関する総合的な施策の在り方を検討することとされています。法務省で
  討に資するよう，性犯罪の実態把握等を進めてきたところであり，現在，その取りまとめ作業を行っています。今後，その結果を踏まえ，性被害当事者等の声にも引き続きしっかりと耳を傾け
  切に対応してまいります。

   （児童虐待防止対策）
   児童虐待の根絶のためには，何よりも子どもの命を守ることを最優先として，その予防や早期発見，被害にあった児童の保護などに，総合的に取り組むことが重要です。昨年，政府が取りま
  童虐待防止対策の抜本的強化について」や，本年２月に策定した「法務省児童虐待防止対策強化プラン」に基づき，児童相談所等の関係機関と緊密に連携しつつ，法務少年支援センターに
  に関する専門的知見を活かした支援等の取組を着実に推進してまいります。

   （震災に起因する人権問題への取組）
   東日本大震災及び原発事故に伴う風評に基づく，差別的取扱いや子どもへのいじめ等の人権問題が現在も存在しています。被災地や被災者の方々に対する心ない差別・中傷は断じてあ
  ないものであり，人権擁護機関による相談・調査救済活動等を通じ，毅然として対応してまいります。

   （様々な人権問題等への対応）
   女性や子ども，高齢者をめぐる人権問題，障害等を理由とする差別，ヘイトスピーチを含む外国人に対する人権侵害，部落差別などの同和問題，性的指向・性自認を理由とする偏見や差別
  ネットを悪用した名誉毀損やプライバシー侵害等の様々な人権問題を解消するため，個別法規を駆使しながら，人権侵害に対する調査救済活動等に丁寧かつ粘り強く取り組みます。
   「心のバリアフリー」として，誰もがお互いの人権を大切にし，支え合う共生社会を実現するための人権啓発活動を推進し，ハンセン病患者・元患者やその家族がおかれていた境遇を踏まえ
  発活動にしっかりと取り組んでまいります。

   （無戸籍状態の解消）
   親によって出生の届出がされておらず，無戸籍となっている皆様について，徹底した実態把握や丁寧な手続案内をするなどの取組を行うとともに，更なる方策をも検討し，無戸籍状態の解
  んでまいります。

  ２ 民事法制の強靱化

   （社会の変化に対応する民事法制）
   民事基本法について，社会の変化に対応するために必要な見直しを進めてまいります。
   子どもの貧困の原因の一つである養育費の不払問題について，関係省庁と連携しながら，その解消に向けて積極的に取り組み，子どもの未来をしっかり守ってまいります。そのほかにも，面
  問題等，両親が離婚した後の子どもの養育の在り方に関する問題を含め，現在行っている家族法制等についての検討を引き続き着実に進めてまいります。
   また，施行を控えている成年年齢の引下げや債権法分野の民法等の改正については，円滑な施行に向けた準備と国民への周知に全力を尽くします。

   （所有者不明土地問題への対応）
   近年，所有者不明土地問題が様々な場面で問題となっており，その対策は，政府全体として取り組むべき重要な課題と認識しております。その解決に向け，相続登記の促進のための取組
  有者不明土地の解消作業などの諸対策を着実に実施してまいります。
   さらに，所有者不明土地問題の抜本的な解決に向けて，現在，法制審議会において，民法及び不動産登記法の改正についての調査審議をいただいているところであり，引き続き関係省庁
  て，法改正に向けた具体的な検討を行ってまいります。

www.moj.go.jp/hisho/kouhou/syoshinhyoumei201.html                                            1/4
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   （震災・災害からの復旧・復興支援）
   相次ぐ大規模災害に対する復旧・復興支援に全力で取り組みます。登記嘱託事件等の適切かつ迅速な対応，倒壊するなどした建物の登記官の職権による滅失登記，登記所備付地図の整
  ラス」による無料法律相談など，被災地の御要望・需要をしっかりと把握しながら取り組んでまいります。

   （訟務機能の充実）
   国民の権利利益の保護を図るためには，国として，多様な訟務機能の充実強化が重要です。国の利害に関係する訴訟に対する指揮権限を適切かつ効果的に行使することはもとより，国内
  紛争の発生そのものを未然に防止するための予防司法機能の強化を図ります。また，関係省庁と緊密に連携して，国際訴訟等への対応も強化いたします。

  ３ 国民に身近で頼りがいのある司法の実現

   （法曹養成制度改革）
   法曹養成制度については，国民の期待に応えられる法曹を養成するための取組を進めることはもとより，先般の法改正に基づき，文部科学省等としっかり連携して，より多くの有為な人材が
  望するための取組をも積極的に進めてまいります。

   （法教育）
   令和４年の民法の成年年齢引下げをも見据え，関係機関とも連携しながら，対象世代や現場のニーズに応じ，多くの国民が法教育に触れる機会を持てるよう，積極的に取り組みます。

   （総合法律支援の充実）
   「法テラス」では，福祉機関等と連携して高齢者等の総合的な問題解決を図る取組や，我が国の法制度等の情報を多言語で提供するサービスを充実させるなど，多様化する社会の要請に
  の支援に取り組んでいます。今後も「法テラス」の取組の周知・広報に努めるとともに，国民の司法へのアクセスを支援するための業務の円滑な実施と体制の充実を図ってまいります。

   （司法の体制充実）
   司法の中核をなす裁判所の体制の充実強化等を図るため，判事の増員などを内容とする「裁判所職員定員法の一部を改正する法律案」を今国会に提出いたしました。十分に御審議の上
  御可決くださいますようお願いをいたします。

   （ＡＩ・ＩＣＴ等の新しい技術の積極的な活用）
   急速に進展するＡＩやＩＣＴ等の技術革新への対応は，業務を効率化し，司法や法務行政の質の向上を図るとともに，ビジネス環境を整備し，日本の国際競争力を高める上でも急務となって
  事裁判のＩＴ化を始めとした司法・法務行政の分野における新たな技術の活用及びその実現に向けた基盤整備を強力に推進してまいります。

  ４ 「世界一安全な国，日本」の実現

   （再犯防止対策）
   「再犯防止推進計画」及び昨年１２月に犯罪対策閣僚会議で決定された「再犯防止推進計画加速化プラン」に基づき，関係省庁や地方公共団体との連携を一層推進します。就労・住居の確
  や障害のある者，薬物依存を有する者，満期釈放者を始めとした刑事手続を終了した者への支援など，犯罪や非行をした者の立ち直りに必要な指導・支援を適切に実施するとともに，地方公
  行う再犯防止の実施体制の構築に向けた支援や，保護司，更生保護施設，協力雇用主等の民間の皆様の活動への支援を，より一層充実強化してまいります。

   （犯罪被害者等の保護・支援）
   犯罪被害者の御負担に関する様々な御指摘等を踏まえ，犯罪被害者等基本法の理念にのっとり，犯罪被害者等の権利・利益の保護を図るための各種制度を適切に運用し，きめ細やかな
  めてまいります。

   （いわゆる「あおり運転」への厳正な対処）
   いわゆる「あおり運転」による死傷事犯の実情等に鑑み，事案の実態に即した対処をするため，通行妨害目的で走行中の車の前方で停止する行為等を危険運転致死傷罪の対象に加える
  て，法制審議会に諮問をし，その答申を得ました。これを踏まえ，「自動車の運転により人を死傷させる行為等の処罰に関する法律の一部を改正する法律案」を今国会に提出いたします。

   （公判期日への出頭及び刑の執行を確保するための刑事法の整備）
   近時，懲役等の刑が確定した者や保釈中の被告人等の逃亡事案が相次いで発生していること等に鑑み，これらの者の逃亡を確実に防止し，公判期日への出頭や刑の執行を確保するため
  の整備について，先般，法制審議会に諮問をいたしました。今後，審議結果を踏まえて，必要な法整備を進めてまいります。

   （治安の確保，国民生活の脅威への対策）
   国民の皆様が安全に安心して暮らせる社会を実現するため，関係機関とも連携し，組織犯罪等への対応を含め，治安確保のための万全の対策を講じてまいります。
   また，国内外におけるテロ関連動向の把握に努め，関係機関との連携を緊密にしつつ，情報収集・分析機能の強化に努めてまいります。
   現在，「Ａｌｅｐｈ」（アレフ），「山田らの集団」及び「ひかりの輪」を中心に活動するオウム真理教については，引き続き，団体規制法に基づく観察処分を適正かつ厳格に実施し，地域住民の不
  消・緩和するとともに，公共の安全の確保に努めてまいります。

   （国外の脅威への対応）
   北朝鮮に対しては，今後も人的往来の規制強化措置等を適切に実施していくとともに，核・ミサイル関連の動向，日本人拉致問題を含む対外動向や国内状況等について，関連情報の収集
  進めます。また，尖閣諸島関係についても，関係機関と連携し，遺漏のない対応をいたします。

  ５ 出入国管理と在留管理の一層の強化，多文化共生社会の実現

   （厳格な水際対策の徹底と円滑な入国審査の両立）
   東京オリンピック・パラリンピック競技大会の開催を控え，我が国の安全・安心を脅かす危険な行為に及ぶおそれがある者らに対する，毅然とした入国管理を行う必要があります。その上で
  推進に向けた円滑な入国審査と，厳格な入国管理を高度な次元で両立させるため，顔認証ゲートなどの世界最高水準の技術を活用し，入国審査の更なる高度化を進めてまいります。
   また，不正な出国防止のため，関係機関と連携し，出国時の手続のより一層の厳格化に努めてまいります。
   併せて，新型コロナウイルス感染症の感染拡大の防止に向け，関係機関との連携を一層強化し，水際対策に万全を期す所存です。

   （外国人材の受入れと適切な在留管理）
   特定技能制度については，外国人材の皆様に我が国で十分に力を発揮していただけるよう，制度の適正な運用に努め， 技能実習生や留学生についても，適正な受入れを図るため，運用
  取り組んでまいります。
   外国人との共生社会の実現については，昨年末に改訂した「外国人材の受入れ・共生のための総合的対応策」などを踏まえ，出入国在留管理庁による総合調整機能を果たしつつ，関係府
  に連携して，一元的相談窓口に係る地方公共団体への支援の拡大，在留支援のためのセンターの設置，やさしい日本語の活用に関するガイドラインの作成などに取り組んでまいります。
   また，外国人による医療保険の利用について，厚生労働省と協力して，健康保険法の改正を踏まえた適正な運用の確保に努めてまいります。

www.moj.go.jp/hisho/kouhou/syoshinhyoumei201.html                                         2/4
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   （適正かつ迅速な難民の保護）
   難民認定制度については，引き続き，真に庇護を必要とする申請者には，早期に安定した在留許可をするなどの配慮を行い，濫用・誤用的な申請者には，事案の内容に応じて在留を許可
  の厳格な対応を行うことにより，制度の適正な運用に努め，難民の迅速な保護を図ってまいります。

   （送還忌避者の収容・送還問題への対応）
   退去強制令書が発付されたにもかかわらず，様々な理由で送還を忌避している者に対しては，適正手続にも十分に配慮しつつ，迅速な送還の実現及び長期収容状態の着実な解消に努め
  す。
   もとより，被収容者の人権に配慮した，適正な処遇につきましても，改めて徹底してまいります。

  ６ 「司法外交」の積極的な推進

   （国連犯罪防止刑事司法会議）
   京都コングレスでは，法の支配や基本的人権の尊重といった普遍的・基本的価値や国際協力の重要性を国際社会に強く打ち出すべく，指導力を発揮してまいります。また，この機会に，我
  司法制度に対する正しい理解を得るため，積極的に国際発信を行うとともに，各国の司法関係閣僚と対話を行います。京都コングレスに先だって，ユースフォーラムを開催し，未来を担う世界
  安全・安心な社会の実現への関心を高めてもらうとともに，グローバル人材の育成に貢献いたします。

   （国際仲裁の活性化等）
   我が国における国際仲裁の活性化に向け，虎ノ門の仲裁専用施設も十分に活用しつつ，関係省庁・関係機関と連携しながら，仲裁人等の専門的な人材育成，国内外における広報・意識啓
  盤整備を進めてまいります。
   また，法律事務の国際化等に，より的確に対応するとともに，国際仲裁の更なる活性化に向けた基盤整備を推進する等のため，「外国弁護士による法律事務の取扱いに関する特別措置法
  正する法律案」を第２００回国会に提出いたしました。十分に御審議の上，速やかに御可決くださいますようお願いをいたします。

   （犯罪防止や法制度整備等に関する国際協力）
   これまで長年にわたり，開発途上国等に対し，基本法令の起草，司法制度の整備や運用，国際研修の実施，司法関係者の人材育成 などの法制度整備支援を行ってまいりました。これらの
  は，国連で採択されたＳＤＧｓの実現にも資する取組であり，積極的に推進してまいります。

   （法令外国語訳整備事業の推進）
   経済社会の国際化が急激に加速する中，重要な日本法令を翻訳して発信することは，国際化に対応した国家の基盤整備として，大変重要な取組です。昨年１２月に立ち上げた「日本法令
  の推進に向けた官民戦略会議」での議論を踏まえ，関係省庁と連携して，日本法令の国際発信に向けて，より一層取り組んでまいります。

  ７ 職員が生き生きと仕事のできる環境の整備

   （働き方改革の推進及び障害者雇用の促進）
   法務省における「アット・ホウムプラン」に基づき，女性の職業生活における活躍や，１００％育休取得をスローガンとする男性職員の育児休業の取得の推進を始めとして，様々な事情を抱え
  生き生きと活躍できる職場環境の整備とワークライフバランスの推進に努めます。
   障害者雇用については，一昨年定められた政府の基本方針に基づき，着実に取組を進めてまいります。

   （施設の耐震化及び老朽化対策の推進）
   昨今の自然災害の発生に鑑み，刑務所等の矯正施設及びその職員宿舎を始めとする法務省施設の耐震化及び老朽化対策を着実に進めるとともに，災害時に避難所としての役割を期待
  施設について，近隣住民の受入れに必要な機能の確保に向けた整備を併せて推進してまいります。

    結び

   今後とも，様々な課題に対し，義家弘介副大臣，宮﨑政久大臣政務官，そして，法務行政を担う全ての職員と一丸となって，全力で取り組んでまいりますので，松島みどり委員長を始め，理
  皆様方には， より一層の御理解と御協力を賜りますよう，よろしくお願い申し上げます。




                                                                                                 ペー




 会見・報道・お知ら 法務省の概要                                   試験・資格・採用   政策・審議会等         申請・手続        白書・統計・
 せ          大臣・副大臣・政務官                              司法試験       省議・審議会等         情報公開・公文書管理   白書・統計
   大臣会見等                     法務省幹部一覧                資格試験       司法制度改革の推進       個人情報保護       予算・決算
   プレスリリース                   組織案内                   採用試験       国民の基本的な権利の実現    行政手続の案内      パンフレット・リ
                             所管法令                   その他の採用情報   刑事政策            法令適用事前確認手続   ト・ポスター
   法務省ソーシャルメディア公                                                                            法務省だよりあか
   式アカウント                    国会提出法案など                          出入国在留管理         オンライン申請
   政府調達情報                    法務省の沿革                            国を当事者とする訴訟などの                法務図書館蔵書検
   主な法務省主催イベント                                                 統一的・一元的処理                    法令外国語訳デー
   その他のお知らせ                                                    第１４回国際連合犯罪防止刑                キッズルーム
                                                               事司法会議（京都コングレ                 法務資料
                                                               ス）                           フォトギャラリー
                                                               政策評価等
                                                               パブリックコメント
                                                               その他の政策・施策
www.moj.go.jp/hisho/kouhou/syoshinhyoumei201.html                                                3/4
